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 1                          IN THE UNITED STATES DISTRICT COURT

 2                             FOR THE DISTRICT OF PUERTO RICO

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 4   UNITED STATES OF AMERICA,

 5       Plaintiff,

 6       v.                                                 CASE NO. 12-2039 (GAG)

 7   COMMONWEALTH OF PUERTO RICO,
     et al.,
 8
          Defendants.
 9

10    INFORMATIVE MOTION IN COMPLIANCE WITH COURT ORDER REGARDING
                  CONDADO TOWN HALL MEETING SCHEDULE
11

12   TO THE HONORABLE COURT:

13            NOW COMES, the undersigned as Counsel in Charge of the Public Hearings on behalf

14   of the Federal Monitor’s Office, who respectfully informs the Court as follows:

15            As previously anticipated, the first Town Hall Meeting of the municipality of San Juan

16   will take place next Tuesday, February 26, 2019 (See Docket No. 1093), at the Mariott Hotel in

17   Condado. The aforementioned Town Hall Meeting aspires to cover the areas of Condado,

18   Miramar, Ocean Park, Punta Las Marías, Puerta de Tierra, Loíza Street and the Luis Lloréns

19   Torres community. The undersigned will start the proceedings at exactly 7:00 p.m. Therefore, all

20   scheduled guest speakers, general public and the parties are asked to arrive at least an hour

21   before the scheduled time.

22            As per the directives of the Court, the above-mentioned Town Hall Meeting shall have a

23   two (2) hour duration, which will be strictly adhered to so that everybody can drive home by

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 1   9:00 p.m. In order to assure that the two (2) hour time limit established by the Court is complied

 2   with, the undersigned will allot specific timeframes for the guest speakers’ presentations, as well

 3   as for the Parties and the Federal Monitor to respond or address any concerns brought up by the

 4   guest speakers.

 5          As of today’s date, the Federal Monitor’s Office has received confirmation that the

 6   following guest speakers will participate in the above-mentioned Town Hall Meeting:

 7          1. Ms. Karen Schneck, from the Condado community, who will talk about the

 8              importance of security on the beach;

 9          2. Dr. Eduardo Rodríguez, from the Condado community, who will speak about the

10              importance of providing psychological help to police officers;

11          3. Ms. María Procaccino, from the Condado community, who will speak about

12              conversational English lessons to police officers;

13          4. Mr. Segismundo Gutierrez, from the Miramar community, who will speak about

14              abandoned houses in the area, homeless people, and business permits;

15          5. Ms. Ana María Guzman, from the Luis Lloréns Torres community, who will speak

16              about business permits;

17          6. Mr. John Paul Lugo, from the Punta Las Marías community, who will speak about the

18              problem with abandoned houses in the area;

19          7. Ms. Maria Pabón, from the Puerta de Tierra community, who will speak about

20              problems in the area regarding security, homeless people, and abandoned structures;

21              and

22          8. Mr. Roberto Cacho, owner of the Hard Rock Café in Condado, who will speak about

23              the concerns of the merchants in the area.

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 1          All scheduled guest speakers shall have an allotted time of approximately six (6) minutes

 2   for their presentations. A detailed timetable is attached as Exhibit #1. The undersigned will alert

 3   each speaker when his o her turn is almost over, and will grant additional time with cause or

 4   when special circumstances merit it. Counsel in charge will exert all reasonable measures to

 5   accommodate any person interested in participating in the scheduled Town Hall Meeting within

 6   the established time frame. In the event that an interested person does not get an opportunity to

 7   participate in the Town Hall Meeting, the undersigned will instruct said speaker to communicate

 8   directly with the parties and representatives of the Federal Monitor’s Office regarding any

 9   concern or suggestion that they may have regarding the Police Reform so that the same can be

10   channeled appropriately. We have notified and continue to notify that written statements may be

11   submitted   to   the   undersigned    prior   to   the   scheduled    Town    Hall   Meeting     at

12   alfredo@cglawpr.com.

13          Lastly, the undersigned reminds the Parties and all scheduled participants, that this and

14   all scheduled Town Hall Meetings will be informal in nature. However, even though the

15   meetings will not be conducted directly by the Court and will not follow a courtroom-like

16   format, the Federal Monitor’s Office is an arm of the Court, therefore all participants must

17   conduct themselves as if the Court was presiding the proceedings (see Docket No. 815). Out of

18   abundance of caution, the undersigned will send each guest-speaker the rules of the proceedings

19   in a Spanish language format to make sure the directives of the Court are strictly adhered to. The

20   undersigned also informs the Court that all production matters have been coordinated by Mr.

21   Javier González on behalf of the Federal Monitor’s Office.

22          WHEREFORE, the undersigned, as counsel in charge of the Town Hall Meetings on

23   behalf of the Federal Monitor’s Office, respectfully requests that the Court takes notice of the

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 1   above for all relevant purposes, approve the proposed agenda and issue the corresponding

 2   directives that it may deem necessary.

 3          RESPECTFULLY SUBMITTED.

 4                                  In San Juan, Puerto Rico, this February 21, 2019.

 5

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 9                                               S/ ALFREDO A. CASTELLANOS
                                                 ALFREDO A. CASTELLANOS
10                                               Constitutional and Legal Advisor to the Office of the TCA
                                                 Counsel in Charge of the Town Hall Meetings
                                                 Federal District Court, for the District of Puerto Rico
11                                               alfredo@cglawpr.com
12                               NOTICE OF ELECTRONIC FILING
13          I HEREBY CERTIFY, that on this date, I electronically filed the foregoing with the
     Clerk of the Counseling the CM/ECF system, which will notify copy to the attorneys of record.
14

15
                                                 S/ ALFREDO A. CASTELLANOS
16                                               ALFREDO A. CASTELLANOS
                                                 Constitutional and Legal Advisor to the Office of the TCA
17                                               Counsel in Charge of the Town Hall Meetings
                                                 Federal District Court, for the District of Puerto Rico
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